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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


MANU PATEL,                                   )
                                              )
                Petitioner,                   )
                                              )
          vs.                                 )         No. 4:06-CV-494 (CEJ)
                                              )
DAVE DORMIRE,                                 )
                                              )
                Respondent.                   )

                               MEMORANDUM AND ORDER

      This matter is before the Court on petitioner’s objections to the Report and

Recommendation of United States Magistrate Judge Lewis M. Blanton, to whom the

matter was referred pursuant to 28 U.S.C. § 636(b). On February 27, 2009, Judge

Blanton issued a Report and Recommendation, recommending that the petition of

Manu Patel for habeas corpus relief be denied. Petitioner has filed objections to

the Report and Recommendation. Pursuant to 28 U.S.C. § 636(b)(1), the Court

makes the following de novo determination of the portions of the report and the

specified findings or recommendations to which objection is made.

      I.          Background

      On October 31, 1998, a jury convicted petitioner of three counts of assault

in the first degree and three counts of armed criminal action. The charges arose

from repeated attempts to shoot Peter Patel and his wife Agnika Patel by several

individuals hired by petitioner.1 Testimony indicated that petitioner wanted to



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        Because petitioner shares a last name with the victims, the Court will refer
to the victims as “Peter” and “Agnika” rather than Mr. Patel and Mrs. Patel, to avoid
confusion. Peter and Agnika are not related to petitioner.
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shoot Peter in retaliation for Peter’s alleged rape of petitioner’s wife. During the

shooting attempts, Peter’s nephew was nearly shot. Both Peter and Agnika were

shot multiple times but survived.        For the assault convictions, petitioner was

sentenced to consecutive terms of twenty, five, and seven years’ imprisonment.

For the armed criminal action convictions, petitioner was sentenced to concurrent

terms of five, three, and five years’ imprisonment.

        On March 7, 2000, the Missouri Court of Appeals affirmed petitioner’s

convictions and sentences. Petitioner then filed a pro se motion for state post-

conviction relief.     Following the appointment of counsel, petitioner filed an

amended motion for relief. The Circuit Court denied the motion without holding

an evidentiary hearing. The Missouri Court of Appeals affirmed the Circuit Court’s

decision in part, but reversed with respect to petitioner’s Brady claim, which the

Court of Appeals found warranted a hearing. Following an evidentiary hearing, the

Circuit Court denied petitioner’s Brady claim. This denial was affirmed by the

Missouri Court of Appeals on February 22, 2005. Petitioner filed two motions for

rehearing or transfer to the Supreme Court of Missouri. The last motion was

denied on May 31, 2005. Petitioner filed this federal habeas action on March 21,

2006.

        Petitioner makes two claims: (1) the prosecution failed to disclose material

favorable evidence to the defense in violation of Brady v. Maryland, 373 U.S. 83

(1963); and (2) ineffective assistance of counsel where trial counsel “unreasonably

and prejudicially opened the door” for the admission of a witness’s prior consistent

statements implicating petitioner.        In addition, petitioner objects to Judge


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Blanton’s denial of his request for an evidentiary hearing on his ineffective

assistance of counsel claim.

      II.   Discussion

      Under the Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”),

a writ of habeas corpus cannot be granted unless: (1) the state decision was either

contrary to, or involved an unreasonable application of, clearly established federal

law; or (2) the state decision was an unreasonable determination of the facts in

light of the evidence presented. 28 U.S.C. § 2254(d).

      “[A]n unreasonable application of federal law is different from an incorrect

application of federal law.”    Williams v. Taylor, 529 U.S. 362, 410 (2000).

“Congress specifically used the word ‘unreasonable’, and not a term like

‘erroneous’ or ‘incorrect’. Id. at 411. “[A] federal habeas court may not issue the

writ simply because that court concludes in its independent judgment that the

relevant state-court decision applied clearly established federal law erroneously or

incorrectly.” Id. Instead, “that application must be unreasonable.” Id.

            A.    State’s Obligation under Brady

      In his first claim for relief, petitioner contends that the prosecution violated

its duty under Brady v. Maryland, 373 U.S. 83 (1963), in failing to disclose to the

defense the full extent of its agreement with its primary witness, Alondo Andre.

Mr. Andre was identified as one of the individuals who shot Peter and Agnika.

Upon his arrest, Mr. Andre told police that he was hired by petitioner to kill Peter

and Agnika. Mr. Andre attempted to carry out petitioner’s plan by shooting Peter

on June 5, 1996 while Peter was behind the cash register of his liquor store. He


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also confessed that, on September 23, 1996, he tried a second time by shooting

through the store window at a man he believed to be Peter, but who turned out to

be Peter’s nephew. Finally, Mr. Andre confessed that he shot Agnika on September

26, 2006.    Mr. Andre agreed to testify against his co-defendants, including

petitioner, in exchange for a lighter sentence for the charges brought in this case.

Petitioner was aware of this agreement.

      However, petitioner contends that the State also agreed to recommend that

Mr. Andre’s sentence in an unrelated probation revocation case run concurrently

with whatever sentence Mr. Andre would later receive for his actions in this case.

Petitioner claims that this information was favorable impeachment evidence that

should have been disclosed. The Missouri Court of Appeals rejected this claim,

finding that Mr. Andre’s probation revocation sentence was not impeaching

evidence required to be disclosed under Brady. Instead, the Missouri Court of

Appeals found that, based on evidence adduced at the evidentiary hearing, the

seven-year sentence imposed for the probation revocation was made only in

exchange for Mr. Andre’s probation revocation waiver and not in exchange for his

testimony in petitioner’s case. Finally, the Missouri Court of Appeals held that,

even if the probation revocation sentence were part of Mr. Andre’s plea deal in this

case, it would have been properly excluded, because at the time Mr. Andre

testified against petitioner, he was beyond the point of jeopardy for his probation

revocation sentence.

      The Court agrees with the magistrate judge that the state court’s analysis

of petitioner’s Brady claim was not contrary to, or involve an unreasonable


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application of, clearly established federal law. “To establish a violation of Brady,

a defendant must show that: (1) the prosecution suppressed evidence, (2) the

evidence was favorable to the accused, and (3) the evidence was material.” Dye

v. Stender, 208 F.3d 662, 665 (8th Cir. 2000).         Petitioner cannot meet this

burden.   At the evidentiary hearing, testimony from Edward McSweeney, the

prosecutor who represented the State at the revocation hearing, showed that the

recommendation of a seven-year concurrent sentence was made solely in

exchange for Mr. Andre’s waiver of a probation revocation hearing and had nothing

to do with Mr. Andre’s testimony against petitioner. Indeed, Mr. Andre was already

obligated at that time to testify truthfully against petitioner based on his plea

agreement in this case. As the magistrate judge found, the Missouri Court of

Appeals’ determination that petitioner’s probation revocation sentence did not

constitute impeaching evidence is not contrary to, or an unreasonable application

of, clearly established federal law. The Court is not persuaded by petitioner’s

objections to the contrary. Petitioner’s Brady claim is denied.2

            B.    Ineffective Assistance of Counsel

      Petitioner’s second claim is that trial counsel was ineffective in “opening the

door” for the admission of statements made by Mr. Andre following his arrest,

implicating petitioner. To prevail on an ineffective assistance of counsel claim,



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        Further, the magistrate judge properly found that petitioner was unable to
demonstrate prejudice as a result of the State’s failure to disclose the probation
revocation sentence. Trial counsel extensively attacked Mr. Andre’s credibility
based on a number of issues, including Mr. Andre’s plea agreement in this case.
The Court does not believe there is a reasonable probability that the result of
petitioner’s trial would have differed had Mr. Andre’s probation revocation sentence
been disclosed.

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petitioner must show both error and prejudice. See Strickland v. Washington, 466

U.S. 668, 687 (1984). To establish error, petitioner must show that “counsel

made errors so serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment.”                Id.   In other words,

“counsel’s   representation   [must      fall]   below   an   objective   standard   of

reasonableness.” Id. at 688. Because it is very easy to judge trial decisions

differently in hindsight, “[j]udicial scrutiny of counsel’s performance must be highly

deferential.” Id. at 689. Indeed, petitioner has the burden to “overcome the

presumption that, under the circumstances, the challenged action might be

considered sound trial strategy.” Id. at 689 (internal citations omitted). Even if

petitioner is successful in establishing counsel error, he must also show “that

because of counsel’s error, there is a reasonable probability that the result of the

proceedings would have been different.” Id. at 690.

      Following his arrest, Mr. Andre provided a statement to police indicating that

petitioner offered him money in exchange for shooting at the Patel family. Trial

counsel filed a motion in limine seeking the exclusion of Mr. Andre’s post-arrest

statements. The trial court granted the motion and ruled that the statements

would be inadmissible at trial.

      However, during his cross examination of Mr. Andre during trial, counsel

insinuated that Mr. Andre was fabricating his testimony, and accordingly “opened

the door” to the admission of Mr. Andre’s prior consistent statements. Petitioner

contends that trial counsel “had absolutely nothing to gain and everything to lose

by suggesting that Andre’s story was a recent fabrication rather than cross-


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examining him on the basis of the deal he received from the state.” Petitioner

contends that trial counsel’s performance in opening the door to the admission of

Mr. Andre’s post-arrest statement was constitutionally deficient.

      The magistrate judge recommended that petitioner’s claim be denied, noting

that the state courts properly applied Strickland and determined that petitioner

failed to satisfy his burden to show that counsel’s cross-examination strategy

constituted ineffective assistance of counsel. The Court agrees that petitioner has

failed to show that trial counsel “made errors so serious that counsel was not

functioning as the ‘counsel’ guaranteed by the Sixth Amendment.” Strickland, 466

U.S. at 687.      As petitioner is aware, it was important for trial counsel to

aggressively cross-examine Mr. Andre, as his testimony directly connected

petitioner to the shootings. The record indicates that trial counsel extensively

sought to damage Mr. Andre’s credibility. The Court agrees that, in doing so,

counsel took a calculated risk that the questioning would be perceived by the trial

court as opening the door to the prior consistent statements made by Mr. Andre

following his arrest.   However, given that Mr. Andre’s prior statements were

entirely cumulative of his testimony at trial, the Court cannot say that risking their

admission was unsound trial strategy, especially since aggressively attacking Mr.

Andre’s credibility was so vital to petitioner’s success at trial.    Trial counsel’s

strategy did not constitute ineffective assistance of counsel.

             C.     Request for Evidentiary Hearing

      The magistrate judge denied petitioner’s request for an evidentiary hearing

on his ineffective assistance of counsel claim, finding that a hearing was not


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necessary to resolve the issues raised by the petition. The Court agrees that the

record contains all of the facts necessary to determine whether trial counsel’s

actions were objectively reasonable under Strickland.       An evidentiary hearing

would not assist the Court in the resolution of petitioner’s claims. Petitioner’s

objection to the denial of his request for an evidentiary hearing is overruled.

       III.   Conclusion

       Petitioner’s objections to the Report and Recommendation are overruled.

Petitioner has not shown that the prior adjudication of his claims in state court was

contrary to, or involved an unreasonable application of clearly established federal

law.   Nor has petitioner shown that the state adjudication was based on an

unreasonable determination of the facts in light of the evidence presented. Federal

habeas relief is not warranted.

       Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation of United

States Magistrate Judge Lewis M. Blanton [#17] is sustained, adopted, and

incorporated herein.

       IT IS FURTHER ORDERED that the petition of Manu Patel for a writ of

habeas corpus [#1] is denied.

       IT IS FURTHER ORDERED that petitioner has failed to make a substantial

showing of the denial of a constitutional right and the Court will not issue a

certificate of appealability. See Cox v. Norris, 133 F.3d 565, 569 (8th Cir. 1997).




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                                                                 ___________
                                               CAROL E. JACKSON
                                               UNITED STATES DISTRICT JUDGE


Dated this 23rd day of April, 2009.




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